Case 1:20-bk-00369-HWV   Doc 6 Filed 02/03/20 Entered 02/03/20 09:16:37   Desc
                         Main Document    Page 1 of 5
Case 1:20-bk-00369-HWV   Doc 6 Filed 02/03/20 Entered 02/03/20 09:16:37   Desc
                         Main Document    Page 2 of 5
Case 1:20-bk-00369-HWV   Doc 6 Filed 02/03/20 Entered 02/03/20 09:16:37   Desc
                         Main Document    Page 3 of 5
Case 1:20-bk-00369-HWV   Doc 6 Filed 02/03/20 Entered 02/03/20 09:16:37   Desc
                         Main Document    Page 4 of 5
Case 1:20-bk-00369-HWV   Doc 6 Filed 02/03/20 Entered 02/03/20 09:16:37   Desc
                         Main Document    Page 5 of 5
